       Case 2:16-md-02724-CMR Document 1022 Filed 06/17/19 Page 1 of 1



                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: GENERIC PHARMACEUTICALS                             MDL 2724
PRICING ANTITRUST LITIGATION                               16-MD-2724

                                                           HON. CYNTHIA M. RUFE
THIS DOCUMENT RELATES TO:

ALL ACTIONS


                         PRETRIAL ORDER NO. 91
           (TIME CHANGE FOR STATUS CONFERENCE OF JULY 12, 2019)

       AND NOW, this 17th day of June 2019, it is hereby ORDERED that to accommodate

the Court’s trial schedule, the General Status Conference set for July 12, 2019, will be held at

3:30 p.m. in Courtroom 12-A, United States Courthouse, 601 Market Street, Philadelphia,

Pennsylvania.

       It is so ORDERED.

                                                     BY THE COURT:

                                                     /s/ Cynthia M. Rufe
                                                     ____________________
                                                     CYNTHIA M. RUFE, J.
